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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES CONFERENCE OF
CATHOLIC BISHOPS;

                         Plaintiff,

v.

UNITED STATES DEPARTMENT OF
STATE;
                                                               1:25-cv-465
                                                     Case No. _______________
MARCO A. RUBIO, in his official capacity as
Secretary of State, Department of State;
                                                     DECLARATION OF WILLIAM
                                                     CANNY IN SUPPORT OF
BUREAU OF POPULATION, REFUGEES,                      PLAINTIFF’S MOTION FOR
AND MIGRATION, Department of State;                  TEMPORARY RESTRAINING
                                                     ORDER
JENNIFER DAVIS, in her official capacity as
Principal Deputy Assistant Secretary, Bureau
of Population, Refugees, and Migration;

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;

ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of Health and Human
Services, Department of Health and Human
Services;


                          Defendants.
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                         DECLARATION OF WILLIAM CANNY
       1.      I, William Canny, am the Executive Director of Migration & Refugee Services

of the United States Conference of Catholic Bishops (USCCB).

       2.      I have held this position at the USCCB since 2015. I hold a Bachelor’s Degree

in Human Services from the University of Scranton and a Master’s Degree in Public Health

from the University of Pittsburgh. Before I joined USCCB, I had over 25 years of experience

of service to the Catholic Church and refugees, including through my previous positions at

Catholic Relief Services and the International Catholic Migration Commission.

       3.      I make this declaration based on personal knowledge and am competent to do so.

       4.      I am submitting this declaration in support of USCCB’s Motion for a Temporary

Restraining Order.

       5.      USCCB’s Migration & Refugee Services is the largest non-governmental

resettlement agency in the United States. In my role as Executive Director, I lead the office’s

efforts on policy formulation and communication about refugees and migrants, advocacy and

education on the same, refugee resettlement, and other specialized services to at risk and

vulnerable populations, such as victims of trafficking and unaccompanied minors. I am

responsible for the execution of USCCB’s cooperative agreements with the State Department’s

Bureau of Population, Refugees, and Migration (PRM), as well as the disbursement of those

awards to USCCB’s subrecipients. I am also responsible for oversight of all staff activities and

USCCB’s relationship with subrecipients of the cooperative agreement funds. And I am

responsible for USCCB’s relationship with the State Department for refugee resettlement

services.

       6.      USCCB’s Migration & Refugee Services has partnered with the federal

government to provide refugee resettlement services since 1980, but the Catholic Church had

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been serving refugees in the United States for decades before the partnership. USCCB’s

Migration & Refugee Services is part of a long tradition of the Catholic Church caring for

refugees in the United States. It was created in 1965, at which time it assumed the responsibility

for overseeing the Church’s pre-existing refugee resettlement services in the United States.

When the U.S. Refugee Admissions Program was created in 1980, USCCB’s predecessor

organization was among the original refugee resettlement agencies supporting its

implementation. Over the years, it has consistently been the largest of these agencies and

currently assists in resettling approximately 17% of refugees arriving in the United States. The

Church engages in this work because we believe that every human person is created in the image

and likeness of God and because of the Gospel imperatives to love thy neighbor and welcome

the stranger. The refugees served in our programs come from many and varied religious

backgrounds. We serve these refugees not because they are Catholic, but because we are

Catholic.

          7.   USCCB partners with dozens of subrecipient agencies across the country to

provide refugee resettlement services. Most of these subrecipients are local Catholic Charities.

These partners are strategically chosen in concert with the State Department and state refugee

coordinators. Many refugees enter the United States with the hope of being reunited with family

after years of separation due to war or violent conflict. USCCB and the other national

resettlement agencies prioritize partnering with subrecipients in locations that will facilitate

family reunification efforts. Since 1980, USCCB has resettled 932,637 refugees in the United

States.

          8.   USCCB entered into two cooperative agreements with PRM for Fiscal Year

2025. USCCB has entered into similar agreements with PRM every year since 1980. As



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USCCB and its subrecipients provide services, USCCB receives subrecipient reimbursement

requests for services rendered and submits reimbursement requests to PRM. In the usual course,

a request to “draw down” funds from the award is submitted to PRM’s grants office and typically

is reimbursed to USCCB within 24 to 48 hours. USCCB then pays its subrecipients for the

services rendered pursuant to the cooperative agreement, as well as its own operating costs and

staff whose salaries are provided for in the cooperative agreements for the administration of the

program. USCCB regularly monitors subrecipients to ensure both programmatic and fiscal

compliance with our cooperative agreements.         USCCB does so by, among other things,

examining case files, conducting home visit interviews, meeting with subrecipient leadership,

and maintaining contact with the officers of the State Refugee Coordinators and State Refugee

Health Coordinators.

       9.      The first cooperative agreement with PRM provides an award of $43,657,781 to

support USCCB’s “expenses in administering the FY 2025 Reception and Placement Program”

for refugees. See Ex. A at 4 (First PRM Agreement). The second cooperative agreement

provides an award of $21,873,120 to fund the “FY 2025 Reception and Placement Program” for

refugees and special immigrant visa (SIV) holders from Afghanistan. See Ex. B at 4 (Second

PRM Agreement).

       10.     Under both cooperative agreements, USCCB agrees to provide initial core

services for refugees and SIV holders (together, “refugees”) for up to their initial 90 days in the

United States. Through the Reception & Placement Program, USCCB and its subrecipients

meet these refugees at the airport, and provide immediate physical needs of housing, food, and

clothing. We ensure that their new home is safe, sanitary, and furnished. We assist them with




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English-language learning, job training, cultural orientation, access to medical care, and all the

necessary paperwork for their new lives in the United States.

       11.     On January 24, 2025, I received a suspension letter from Rachel Licina, a grants

officer at PRM, regarding the cooperative agreements between PRM and USCCB.                  The

suspension letter notified USCCB that all funding pursuant to these cooperative agreements was

immediately suspended pending the State Department’s review. The suspension letter instructed

USCCB to stop work under the agreements and not to incur any “new costs.” The suspension

letter stated that USCCB could submit requests for legitimate expenses incurred prior to January

24, as well as legitimate expenses associated with the letter. See Ex. C.

       12.     On January 28, 2025, I responded to Ms. Licina. In my letter, I explained that

based on our understanding of our awards, USCCB did not consider meeting present obligations

to provide assistance to refugees and SIV holders already lawfully admitted to the United States

to represent “new costs,” as referenced in the suspension letter. I notified PRM that we would

seek reimbursement for all costs for the refugees currently in their 90-day service period and in

USCCB’s care. I also asked for guidance on the applicability of any waivers and on “legitimate

expenses” incurred before January 24, 2025. See Ex. D.

       13.     On January 31, Ms. Licina emailed an update about payment requests to USCCB.

She stated that the suspension was issued in order to “comply[] with the [Foreign Aid] Executive

Order.” See Ex. E. She also directed USCCB to “abide by the notice of suspension issued to

[the] organization.” Id.

       14.     Although there has been some email traffic since then between USCCB and

PRM, e.g., Ex. F, PRM has not provided any further explanation for its funding suspension. As




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of this date, USCCB has received no guidance on the applicability of any waivers or on the

already-incurred “legitimate expenses.”

       15.     On January 25, 2025, there were 6,758 refugees in the care of USCCB and its

subrecipients who were still in their initial 90-day period for resettlement services. These

refugees were allocated to USCCB by the federal government in a series of allocation meetings

between the ten private resettlement agencies operating domestically within the United States

and the Refugee Processing Center, an arm of PRM. Refugees are assigned to the resettlement

agencies based on a variety of factors, including the location of subrecipients, specific medical

needs, and an attempt toward even distribution over time for the agencies and their subrecipients

to be able to provide consistent services.

       16.     Although the suspension letter stated that USCCB could submit reimbursement

requests for services rendered before the suspension letter, USCCB has received no

reimbursements since January 15, 2025. Currently, USCCB is waiting on approximately $13

million in reimbursement funds for initial-resettlement services rendered before the suspension

letter went into effect. USCCB currently owes $11.6 million to its subrecipients for initial-

resettlement services rendered, but that USCCB is unable to reimburse due to the cash-flow

depletion caused by the suspension letter. These numbers will continue to rise, by millions of

dollars every week, so long as the funding suspension remains in effect.

       17.     As a result of the funding suspension, USCCB was forced to give notice of

planned terminations to 50 staff members in the Migration & Refugee Services office, more

than half of our refugee resettlement staff. The first set of those 50 employees will have their

last day of employment on March 7. These layoffs inflict irreparable harm to USCCB, which

may never be able to replace the skills and expertise of the staff members it had to let go. These



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workers have valuable accumulated experience, and they are familiar with our programs, with

our partnership with PRM and our subrecipients, and with the needs of the refugees we serve.

Losing these employees will adversely affect our ability to continue to serve refugees going

forward. Remaining staff will be strained to provide the necessary services to refugees that the

government allocated to USCCB. And USCCB will need to lay off additional staff if the funding

suspension continues. Our employees who were laid off are also significantly harmed by their

lost employment and the loss of their ability to live their vocation by assisting refugees.

       18.     Although USCCB spends more on refugee resettlement services each year than

it receives in federal funding, the significant majority of funds for those services come from the

federal government. For example, in 2023, USCCB spent $134 million on migration and

refugee services, $130 million of which were provided by federal funding. KPMG, United

States Conference of Catholic Bishops and Affiliates: Consolidated Financial Statements with

Supplemental    Schedules,    December      31,       2023   and     2022   at   29,   available   at

https://www.usccb.org/about/financial-reporting.        This does not include the local Catholic

Charities’ own cash and in-kind contributions and volunteer services to the program. In Fiscal

Year 2024, for example, USCCB’s subrecipient network generated $4,150,894 in cash

contributions and $5,717,982 in in-kind contributions.

       19.     As USCCB and its subrecipients inevitably shrink their workforces and are

deprived of the cooperative-agreement awards, our ability to serve refugees will be

catastrophically diminished. USCCB’s ability to provide the current scale of its refugee

resettlement services is dependent on federal funding.             The uncertainty surrounding this

funding—and the 45-years partnership with the federal government to provide refugee

resettlement services—will cause long-term, potentially fatal consequences to USCCB’s



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programs. Once shuttered, these programs may never recover. The catastrophic uncertainty

caused by the funding suspension will make both USCCB and its subrecipients less likely to

participate in refugee resettlement services at all, as the financial risk to these charitable

organizations may be too high if it is unclear whether they will be reimbursed for the services

rendered.

       20.     USCCB also faces reputational harm as an employer and service provider. The

funding suspension has caused irreparable harm to USCCB’s relationships with subrecipients

(who have currently stopped being paid despite expecting to receive funds from USCCB) and

will make it more difficult for USCCB to work with those organizations in the future to help

refugees. Our inability to meet the expectations of our subrecipients—due the government’s

failure to meet its obligations to USCCB—will adversely affect our relationship with our

subrecipients, who may be less likely to depend on us in future partnerships. And the employees

lost during this time of confusion may not return, even if the funding resumes. These irreparable

injuries to USCCB compound with every day that the funding USCCB is owed pursuant to its

cooperative agreements is suspended and uncertainty as to its refugee-assistance programs

remains. The reputational harms and forced staff reductions suffered by our subrecipients, too,

will irreparably harm USCCB, by making it both more difficult to partner with these

organizations in the future and more likely that the subrecipients will be institutionally incapable

of providing services to refugees.

       21.     Throughout several of the prior Administrations, USCCB has scaled its

resettlement services up and down to match the number of refugees being admitted into the

United States. Those past changes happened in the ordinary course: They were planned and

orderly, and allowed USCCB to scale its staff and services in an organized way, without



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